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                                         DEFINITIONS

        For the purpose of this Plan of Reorganization, the following terms shall have the
respective meanings set forth below and such meanings shall be equally applicable to the
singular and plural forms of the terms defined unless the context requires otherwise.

“Administrative Expense” shall mean any cost or expense of administration of this Estate
allowed by the Court pursuant to Section 503(b) of the Bankruptcy Code, including, without
limitation, any actual and necessary expenses of preserving the Estate and any actual and
necessary expenses of operating the business of the Debtor.

“Allowed Amount” shall mean with respect to a Claim, (a) the amount of a Claim that was
listed in the Debtor’s Schedules (as originally filed in this Case) as not disputed, contingent or
unliquidated, if the holder of such Claim has not filed a proof of claim with the Court within the
applicable period of limitation fixed by the Court pursuant to Rule 3003(c)(3) of the Rules, or (b)
if a holder of a Claim has filed a proof of claim with the Court within the applicable period of
limitation fixed by the Court pursuant to 3003(c)(3) of the Rules: (i) the amount stated in such
proof of claim or in the Schedules if no objection to such proof of claim or amount listed in the
Schedules has been interposed within the applicable period of limitation fixed by the Code or
Rules, or as otherwise fixed by the Court, or (ii) such amount as shall be fixed by an order of the
Court which has become a Final Order, if an objection has been interposed within the applicable
period of limitation fixed by the Code, the Rules, or the Court, or (c) with respect to a Fee
Request, such amount as shall be fixed by an order of the Court which has become a Final Order.
In no event shall the Allowed Amount of any Priority Claim or Unsecured Claim include interest
accrued on such Claim after the Filing Date.

“Allowed Claims” shall mean a claim (a) in respect of which a proof of claim has been filed
with the Court within the applicable period of limitation fixed by Rule 3003 or (b) scheduled in
the list of creditors prepared and filed with the Court pursuant to Rule 1007(b), and which is not
listed as disputed, contingent or unliquidated as to amount, and in either case as to which no
objection to the allowance thereof has been interposed within any applicable period of limitation
fixed by Rule 3003, or by order of the court, or as to which any such objection has been
determined by an order or judgment which is no longer subject to appeal or certiorari proceeding
and as to which no appeal or certiorari proceeding is pending. Allowed claim shall not include
interest on the principal amount of such claim subsequent to the Petition Date, except as may be
otherwise provided herein.

“Allowed Secured Claim” means an Allowed Claim secured by the Property in an amount
equal to the lesser of the Allowed Claim of that creditor or the value of the Property, as
determined by the Court pursuant to 11 U.S.C. § 506, minus the amount of any Allowed Claim
secured by a senior lien against the same Property, unless the holder of the claim elects pursuant
to § 1111(b) in which event the Allowed Secured Claim shall be equal to the Allowed Claim.

“Article” shall mean one of the numbered Articles of the Plan.

“Ballot” shall mean the ballot accompanying the Disclosure Statement upon which holders of

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Claims and Equity Interests in each Impaired Class of Claims and Equity Interests that are
entitled to vote on the Plan shall indicate their acceptance or rejection of the Plan and, if
applicable, such other elections as may be made thereon are to be indicated.

“Ballot Deadline” shall mean the last day established by order of the Court for filing a Ballot
with the Clerk of the Court.

“Bankruptcy Code” means Title I of the Bankruptcy Reform Act of 1978, as Amended, 11
U.S.C. Section 101, et seq.

“Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of
Florida having jurisdiction over the Chapter 11 Case.

“Business Day” shall mean a day other than a Saturday, a Sunday, or a day on which
commercial banks in Fort Lauderdale, Florida are authorized or required to close.

“Case” shall mean the Chapter 11 Case No. 16-16643-JKO, pending before the United States
Bankruptcy Court for the Southern District of Florida, in which Alex Chisholm is the Debtor.

“Chapter 11" means Chapter 11 of the Bankruptcy Code.

“Claim” shall have the meaning as set forth in 11 U.S.C., §101 and include any right to payment
or right to an equitable remedy for breach of performance if such breach gives rise to a right to
payment, against the Debtor in existence on or as of the Petition Date, whether or not such right
to payment or right to an equitable remedy is reduced to judgment, liquidated, unliquidated,
fixed, contingent, matured, unmatured, disputed, undisputed, legal, secured or unsecured.

“Class” shall mean a group of Claims or Equity Interests classified together pursuant to Article
II of the Plan.

“Confirmation Date” shall mean the date upon which the Order confirming the Plan is entered
by the Court in accordance with the provisions of Chapter 11 of the Code.

“Court” shall mean the United States Bankruptcy Court for the Southern District of Florida, in
which the Debtor’s Chapter 11 case, pursuant to which this Plan is proposed, is pending, and any
court having competent jurisdiction to hear appeals or certiorari proceedings therefrom.

“Creditor” shall mean the holder of an allowed Claim.

“Debtor” shall mean Alex Chisholm.

“Effective Date” shall be the thirtieth (30th) day following the date upon which the Order is
entered by the Court confirming the Plan in accordance with the provisions of Chapter 11 of the
Code.

“Final Order” shall mean an order or a judgment of the Court which has not been stayed and as

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to which order or judgment (or any revisions, modification or amendment thereof) the time to
appeal or seek review or rehearing has expired.

“Person” or “Persons” shall mean an individual, corporation, partnership, joint venture, trust,
estate, unincorporated organization, or a government or any agency or political subdivision
thereof or other entity.

“Petition Date” shall mean May 6, 2016, the date on which the Debtor filed voluntary Chapter
11 Petition with the Court.

“Plan” shall mean this Chapter 11 Plan of Reorganization in its present form or as may hereafter
be amended, modified or supplemented in accordance with the terms hereof or in accordance
with the Code.

“Pro Rata” shall mean proportionately, so that the ratio of the amount of consideration
distributed to an account of a particular Allowed Claim or Equity Interest to the Allowed
Amount of such Claim or Equity Interest is the same as the ratio of the amount of consideration
distributed on account of all Allowed Claims or Allowed Equity Interests of the Class in which
the particular Claim or Equity Interest is included to the amount of all Allowed Claims or Equity
Interests of that Class, unless otherwise defined in the Plan. Whenever a Disputed Unsecured
Claim or Disputed Equity Interest has not been finally resolved, an appropriate reserve for
payment of such Disputed Unsecured Claim or Disputed Equity Interest shall be established so
that there will be sufficient consideration available to make a Pro Rata distribution to the holder
of such Disputed Unsecured Claim or Disputed Equity Interest upon final resolution of the
dispute.

“Professional Person” mean attorneys, accountants, appraisers or other professionals within the
meaning of Section 327 of the Bankruptcy Code, employed with the approval of the Bankruptcy
Court.

“Reorganized Debtor” shall mean Alex Chisholm.

“Rules” shall mean the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules
as adopted by the Court.

“Secured Claim” means any Claim that is secured pursuant to Section 506 of the Bankruptcy
Code.

“Secured Creditor” means any Creditor that holds a Secured Claim.




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                                          ARTICLE I

                                          Introduction

1.01   Debtor’s Chapter 11 Case

        On May 6, 2016 (the “Petition Date”), the Debtor filed a voluntary petition for relief
under Chapter 11 of the United States Bankruptcy, Code, 11 U.S.C. §101 et seq. (the
“Bankruptcy Code”). The Debtor is an individual who was, at the time of filing, employed as a
radio personality on CBS Radio Miami. He also received additional income working as a disc
jockey, performing at clubs and private parties. The Debtor’s contract with the radio station was
terminated and his last compensation from the station was received in February, 2017. He still
receives disc jockey income through Flex Marketing Inc., a Florida corporation in which he is a
fifty percent (50%) owner from which he has derived an averaged approximate income of
$3,565.0.0 over the last two (2) months. Also over the past two (2) months, the Debtor has
received an average of $2,025.00 of income from RM Enterprises Services Corp. (a flooring
company) in which he is also a fifty percent (50%) owner. With that, the Debtor’s total average
income for the past two (2) months is $5,590.00.

        The Debtor resides in a single family home in Pembroke Pines, Florida. He has no
investment properties; he previously owned a property in Philadelphia, Pennsylvania which was
subject to a foreclosure sale, resulting in a deficiency judgment of $116,139.36. Debtor desires
to reduce his monthly expenses and, at the same time, repay his creditors in an orderly manner
from his income. Except for the fact that Debtor has $517,441.32 in unsecured debt (over the
Chapter13 jurisdictional limit), he would have a filed a Chapter 13 bankruptcy. In addition to the
deficiency judgment referred to above, the Debtor has another judgment as the result of breach of
contract litigation, which recorded against him in Broward County in 2011. This judgment was
avoided by an order of this Court dated December 5, 2016 (DE #81). The claim has a current
balance of approximately $312,000.00. These two claims make up eighty three percent (83%) of
the unsecured class. The unsecured class (Class 5) will receive a .97% distribution totaling
$5,000.00 payable in twenty (20) quarterly payments of $250.00 per quarter.

        The Debtor owns one (1) piece of real estate, his homestead, which secures a mortgage
held by Wells Fargo (the “Homestead Mortgage”). The Homestead Mortgage is in default of
the monthly payments required by a loan modification entered into by the Debtor and Wells
Fargo in 2014. The Debtor intends to honor the modification agreement in the Plan (Class 1) and
cure the pre-petition arrearage of $13,246.52 over seventy-two (72) months.

        Pre-petition homeowners association lines in the amount of $25,843.26 have been
stripped by this Court’s order dated September 26, 2016 (DE #69). The Debtor had owned two
(2) automobiles: a 2012 VW Passat and a 2013 Audi A-8. The Audi has been surrendered, and
payment arrangements have been made with the lender in regard to the VW Passat (Class 3).

       The City of Pembroke Pines, Florida, holds a municipal lien against the homestead
(recorded in 2012) in the face amount of $3,800.00 for a noise code violation. The City has
agreed to accept the lump sum payment of $500.00 in settlement of its claim (Class 2).


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1.02   Summary of the Plan

        The Debtor’s goal is to reduce his monthly expenses to generate sufficient net income
from employment to have funds remaining for a distribution to general unsecured claims after
having paid secured claims, administrative claims, and priority claims. Debtor believes that his
Plan provides the best and most viable solution to exit from bankruptcy. The Disclosure
Statement describes how the Debtor will implement and carry out the Plan. The following are
the classes set forth in the Plan, and the proposed treatment that they will receive under the Plan.


                                          ARTICLE II

                             Classification and Treatment of Claims

2.01   Unclassified Claims

       a. Allowed Administrative Claims

            Administrative expenses are costs or expenses of administering the Chapter 11 case
which are allowed under 11 U.S.C. §507(a)(2). Administrative expenses also include the value of
any goods sold to the Debtor in the ordinary course of business and received within 20 days
before the date of the bankruptcy petition, if any. All entities seeking an award by the Court of
Professional Fees and Expenses shall file their respective final applications for allowance of
compensation for services rendered and reimbursement of expenses incurred through the
Effective Date pursuant to section 330 if the Code and Rule 2016 by the date that is ten (10) days
after the Effective Date or such other date as may be fixed by the Court.

             Each holder of an Allowed Administrative Claim shall receive, in full satisfaction,
settlement, release and discharge of such Allowed Administrative Claim, either (A) an amount
equal to the unpaid amount of such Allowed Administrative Claim in cash commencing on the
later of (i) the Effective Date, (ii) the date that such Claim becomes an Allowed Administrative
Claim by a Final Order, or (iii) a date agreed to by the Claimholder and the Debtor; or (B) such
other treatment (i) as may be agreed upon in writing by the Claimholder and the Debtor, or (ii) as
the Bankruptcy Court has ordered or may order. Notwithstanding the foregoing, Allowed
Administrative Claims representing (a) liabilities, accounts payable, or other Claims or
obligations incurred in the ordinary course of business of the Debtor consistent with past
practices subsequent to the Petition Date, shall be paid or performed by the Debtor in accordance
with the terms and conditions of the particular transactions relating to such liabilities and any
agreements or contracts relating thereto; provided, notwithstanding any contract provision,
applicable law or otherwise, that entitled a holder of an Allowed Administrative Claim to post-
petition interest, no holder of an Allowed Administrative Claim shall receive post-petition
interest, on account of such Claim.

       b. Priority Tax Claims

       Each holder of an Allowed Priority Tax Claim shall receive, at the sole discretion of the
Debtor, and in full satisfaction, settlement, release, and discharge of and in exchange for such
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 Allowed Priority Tax Claim, (A) an amount equal to the unpaid amount of such Allowed Priority
 Tax Claim in cash commencing on the later of (i) the Effective Date, (ii) the date that such Claim
 becomes an Allowed Priority Tax Claim by a Final Order, or (iii) a date agreed to by the
 Claimholder and the Debtor; (B) as provided in section 1129(a)(9)(C) of the Bankruptcy Code,
 cash payments made in equal monthly installments beginning on the Effective Date, with the
 final installment payable not later than the sixtieth (60th) month following the Petition Date,
 together with interest (payable in arrears) on the unpaid portion thereof at 18% from the
 Effective Date through the date of payment thereof; or (C) such other treatment as to which the
 Debtor and such Claimholder shall have agreed in writing or the Bankruptcy Court has ordered
 or may order; provided, however, that the Debtor reserves the right to pay any Allowed Priority
 Tax Claim, or any remaining balance of any Allowed Priority Tax Claim, in full at any time on
 or after the Effective Date without premium or penalty; and, provided further, that no holder of
 an Allowed Priority Tax Claim shall be entitled to any payments on account of any pre-Effective
 Date interest accrued on or penalty arising before or after the Petition Date with respect to or in
 connection with such Allowed Priority Tax Claim.

          c. United States Trustee Fees

        The Debtor shall pay the United States Trustee the appropriate sum required pursuant to
 28 U.S.C. §1930(a)(6) within ten days of the entry of the confirmation order for pre-confirmation
 periods and simultaneously file with the Court the monthly operating reports for all pre-
 confirmation periods. Furthermore, Debtor shall pay the United States Trustee the appropriate
 sum required pursuant to 28 U.S.C. §1930(a)(6) for post-confirmation periods and
 simultaneously file with the Court quarterly post-confirmation reports until the earlier of an
 Order by this Court dismissing this case or converting this case to another chapter under the
 United States Bankruptcy Code.

        The following chart lists the Debtor’s estimated Administrative expenses and their
 proposed treatment under the Plan:

              TYPE                    ESTIMATED                     PROPOSED TREATMENT
                                     AMOUNT OWED
Expenses Arising in the Ordinary                          The Debtor has been paying post-petition expenses
Course of Business After the                              in the normal course, and does not believe that any
Petition Date                           Unknown           amounts are due and owing.
The Value of Goods Received in
the Ordinary Course of Business           $0.00                                  N/A
Within 20 Days Before the Petition
Date
Professional Fees, as approved by     Est. $32,000.00     Paid in full on the Effective Date of the Plan, or
the Court                                                 according to a separate agreement, or according to
                                                          Court order if such fees have not been approved by
                                                          the Court on the Effective Date of the Plan.
Clerk’s Office Fees                        $0.00                                   N/A
U.S. Trustee Fees                      Est. $325.00       Paid in full the Effective Date of the Plan.
TOTAL                                 Est. $32,325.00




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 2.02     Classes of Secured Claims

         Allowed Secured Claims are claims secured by property of the bankruptcy estate (or that
 are subject to setoff) to the extent allowed as secured claims under 11 U.S.C. §506. If the value
 of the collateral or setoffs securing the creditor’s claim is less than the amount of the creditor’s
 allowed claim, the deficiency will be classified as a general unsecured claim.

         The following chart lists all classes containing Debtor’s secured prepetition claims and
 their proposed treatment under the Plan:

              Class                                                       Treatment
Class 1 – Secured Claim of Wells       Impaired       Class 1, the Secured Claim of Wells Fargo Bank, N.A.
Fargo Bank, N.A. [Claim #5-1]                         is impaired by the Plan. Class 1 claim is secured by
                                                      Debtor’s homestead property located at: 1514 NW
Homestead Located at 1514 NW                          183rd Terrace, Pembroke Pines, FL 33029
183rd Terrace, Pembroke Pines, FL
33029                                                 Debtor shall pay Wells Fargo Bank, N.A.             in
                                                      compliance with the mortgage modification entered
Secured Claim Amt: $560,672.51                        into in October 6, 2014. Except as otherwise expressly
                                                      provided herein and in an the mortgage modification
Interest Rate:                                        agreement, all remaining terms of the underlying Note
As per the Mortgage Modification                      and Mortgage shall govern the treatment of Creditor’s
Agreement:                                            Secured Claim.

2% from 4/1/16 to 10/1/2019                           Debtor shall provide a cure for prepetition arrears of
3% to 10/1/2020                                       $13,246.52 over the first 72 months of the Plan by
4% to 10/01/2021                                      paying an additional $183.98
4.125% to maturity
                                                      In addition, post-confirmation, Debtor shall escrow
Maturity Date: 12/01/2047                             amounts required for the maintenance of real estate
                                                      taxes and insurance premiums.

Payment amount for P &I Pursuant                      Payments will be made to
to Mortgage Modification                              Wells Fargo Bank, N.A., Payment Processing,
Agreement:                                            MAC#X2302-04C, 1 Home Campus, Des Moines, IA
                                                      50328
Till 10/01/2019 - $1,970.79
Till 10/01/2020 - $2,232.34                           Silver Lakes Condominium Association, Inc.,(“Silver
Till 10/01/2021 - $2,503.77                           Lakes”) holds 3 recorded liens for condo assessments
Till 12/01/2047 - $2,537.85                           secured by 1514 NW 183rd Terrace, Pembroke Pines,
                                                      FL 33029 totaling $25,843.26.

                                                      Pursuant to Court Order at DE#69 Silver Lake’s claim
                                                      is classified as a general unsecured claim, and is
                                                      entitled to distribution pursuant to the treatment
                                                      specified in Class 5.
Class 2 – Secured Claim of City of     Impaired       Class 2, the Secured Claim of City of Pembroke Pines,
Pembroke Pines, Florida                               Florida is impaired by the Plan. Class 2 claim consists
                                                      of a municipal lien for a code violation in the face
Municipal Lien on Homestead                           amount of $3,800.00, filed in Broward County at OR
Located at 1514 NW 183rd Terrace,                     Book 49346, Page 1509, and secured by Debtor’s
Pembroke Pines, FL 33029                              homestead located at 1514 NW 183rd Terrace,


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                                                       Pembroke Pines, FL.
Secured Claim Amt: $3,800.00
                                                       By agreement Debtor proposes to pay the sum of
Payment Amt: $500.00 lump sum                          $500.00 in a lump sum on the Plan Effective Date in
                                                       full settlement of the Claim.

Class 3 – Secured Claim of Ally        Impaired        Class 3, the Secured Claim of Ally Financial, Inc.
Financial, Inc. [Claim # 1-1]                          [Claim # 1-1] is impaired by the Plan. Class 3 claim is
                                                       secured by Debtor’s 2012 VW Passat
Claim Amt: $10,710.67
                                                       By Agreed Order (DE#52) Debtor proposes to treat
Auto Loan on 2012 VW Passat SE                         said claim as totally secured in the amount of
4D                                                     $10,710.65. Repayment shall be based upon a 60
                                                       month amortization, at an interest rate of 5.25%
Vin #: 1VWBP7A32CC022474                               resulting in equal monthly principal and interest
Agreed Value: $10,710.65                               payments of $204.75.

Maturity Date: 60 months                               Payments commenced on August 1, 2016. Payments
                                                       will be made to Ally Financial Inc, PO Box 13024,
Interest Rate: 5.25%                                   Roseville, MN 55113-0004.

Monthly Payment Amt: $204.75

 2.03 Classes of Priority Unsecured Claims

        Certain priority claims that are referred to in 11 U.S.C. §§507(a)(1), (4), (5), (6) and (7)
 are required to be placed in classes. The Code requires that each holder of such a claim receive
 cash on the Effective Date of the Plan equal to the Allowed amount of such claim.

          There are no claims in this Class

 2.04     General Unsecured Claims

         General unsecured claims are not secured by property of the estate and are not entitled to
 priority under 11 U.S.C. §507(a). The following chart identifies the Plan’s proposed treatment of
 Class 3, which contains general unsecured claims against the Debtor.

               Class               Impairment                           Treatment
Class 4 – General Unsecured         Impaired      Class 4 consists of all allowed unsecured general claims
Creditors                                         and allowed undersecured claims. The Class 4 Creditors
                                                  shall share a total prorate distribution of $5,000.00 (the
Total Claims Amount: $517,441.32                  “Plan Payments”), which shall be paid over five (5) years
                                                  in twenty (20) quarterly payments totaling $250.00 per
Plan Payment Term: 5 years                        quarter, with the first payment due on the first day of the
                                                  month following the Effective Date of the Plan, and
Total Plan Payments: $5,000.00                    continuing on the first day of every quarter thereafter.
                                                  Allowed unsecured claimants will receive a distribution
Quarterly Plan Payment Amount:                    of approximately .97%.
$250.00
                                                  The class includes:
Distribution percentage:   .97%                       a) The claim of Silver Lakes Community
                                                  Association Inc. in the amount of $25,843.62 for


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                                                                  assessed recorded liens and statutory un-liened HOA fees
                                                                  “stripped” from premises 1514 NW 183rd Terrace,
                                                                  Pembroke Pines, Fl pursuant to Order at ECF#69;

                                                                      b) A claim for an unsecured judgment in the
                                                                  amount of $312,000.00 in the name of Sandra Guzman,
                                                                  recorded in Broward County on March 8, 2011 at OR BK
                                                                  47767 PG 990 was avoided by Court order at DE81 ;

                                                                       c) A claim for a mortgage foreclosure deficiency
                                                                  judgment entered in Philadelphia County, Pennsylvania
                                                                  in the amount of $116,139.36 in the name of Arch Bay
                                                                  Holdings, LLC; and

                                                                      d) A claim in the amount of $22,361.00 held by
                                                                  Ford Motor Credit for a repossessed vehicle.

                                                                      e) A claim in the amount of $34,390.77 held by
                                                                  Ally Financial, Inc. [Claim # 2-1] for a 2013 Audi A-8,
                                                                  which was surrendered during the administration of the
                                                                  Estate

                                                                  These five claims total $510,734.33 and comprise 98.7%
                                                                  of Class 4 – General Unsecured Claims.

                                                                  Notwithstanding the above, any allowed unsecured
                                                                  general claimant and allowed undersecured claimant
                                                                  scheduled to receive a total distribution of $250.00 or less
                                                                  shall be paid in a lump sum on the first day of the month
                                                                  following the Effective Date.

                 The Debtor’s scheduled and unsecured claims are set forth either in Schedule F and /or in
         the Claims Register. The aggregate amount of claims included in Class 4 is $512,841.00.

                 Based on the distribution amount of $5,000.00, allowed unsecured claimants will receive
         a distribution of approximately .97%. This distribution is higher than what allowed general
         unsecured claimants would receive in a hypothetical Chapter 7.

                  The schedule of proposed payments to Class 3 – Unsecured Creditors is as follows:

                                                                                        Quarterly     Total
                                                               Payment    Payment                                  Claim         Amount
Class      Creditor Name         Creditor Mailing Address                               Payment        Plan
                                                              Frequency   Duration                                 Type          Claimed
                                                                                        Amount       Payment

                                 Payment Processing Center
                                                                          5 Years (20
 4          Ally Financial            PO Box 78367            Quarterly                    $16.84     $336.89    Unsecured       $34,554.40
                                                                           Quarters)
                                  Phoenix, AZ 85062-8367
         American InfoCourse          PO Box 244848
                                                                          5 Years (20
 4         LP as Agent for       Oklahoma City, OK 73124-     Quarterly                     $0.35        $6.94   Unsecured         $711.80
                                                                           Quarters)
        Tmobile/Tmobile USA               8848
         Arch Bay Holdings,       4837 Watt Ave, Ste100                   5 Years (20
 4                                                            Quarterly                    $56.62    $1,132.31   Unsecured   $116,139.36
         LLC Series 2010B        North Highlands, CA 95660                 Quarters)
            Crest Financial           61 W 13490 S                        5 Years (20
 4                                                            Quarterly                     $0.54      $10.72    Unsecured        $1,100.00
        Collections Department       Draper UT 84020                       Quarters)

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     Dr. Anthony Solages,      2400 N University Dr. #215                 5 Years (20
4                                                             Quarterly                   $0.32      $6.43    Unsecured      $660.00
             MD                 Pembroke Pines FL 33024                    Quarters)
                                     PO Box 54200                         5 Years (20
4     Ford Motor Credit                                       Quarterly                  $10.90    $218.01    Unsecured    $22,361.00
                                    Omaha, NE 68154                        Quarters)
                                2877 Paradise Road Unit
    Main Street Acquisition                                               5 Years (20
4                               303            Las Vegas,     Quarterly                   $1.13     $22.51    Unsecured     $2,309.00
     Capital Dermatology                                                   Quarters)
                                        NV 89109
                                Patient Financial Services
    Memorial Health Care                                                  5 Years (20
4                                 2900 Corporate Way          Quarterly                   $0.45      $8.90    Unsecured      $913.04
         System                                                            Quarters)
                                   Miramar, FL33025
    Radiology Associates of       9050 Pines Blvd.                        5 Years (20
4                                                             Quarterly                   $0.02      $0.31    Unsecured       $32.00
          Hollywood            Pembroke Pines, Fl 33024                    Quarters)
                               7815 Dickens Ave. Apt4-B                   5 Years (20
4       Sandra Guzman                                         Quarterly                 $149.77   $2,995.43   Unsecured   $307,236.16
                                   Miami FL 33141                          Quarters)
                                   Bankruptcy Team
                                                                          5 Years (20
4   Sheridan Health Corp.      1613 NW 136th Ave. #200        Quarterly                   $0.15      $2.92    Unsecured      $300.00
                                                                           Quarters)
                                  Sunrise, FL 33323

        Silver Lakes            2 South University Drive                  5 Years (20
4                                                             Quarterly                  $12.60    $251.97    Unsecured    $25,843.62
    Community Association      Plantation, FL 33324-3355                   Quarters)

                               c/o Buckley King LPA, 600
     Sterling Jewelers, Inc.                                              5 Years (20
4                              Superior Ave East, Ste 1400    Quarterly                   $0.12      $2.43    Unsecured      $248.73
      d/b/a Kay Jewelers                                                   Quarters)
                                   Cleveland OH 44114
                                    PO Box 53410                          5 Years (20
4           Tmobile                                           Quarterly                   $0.21      $4.21    Unsecured      $432.00
                               Bellevue WA 98015-3410                      Quarters)
                                                                                        $250.00   $5,000.00               $512,841.11


     NOTICE TO CLASS 4 --- GENERAL UNSECURED CREDITORS: Pursuant to 11 USC
     §1129(a)(15), unsecured creditors have a right to object to plan confirmation. If you object
     to confirmation of the Plan, the value of the property to be distributed under the Plan shall
     not be less than the projected disposable income of the Debtors as defined in 11 U.S.C.
     §1325(b)(2) to be received during the 5-year period beginning on the date that the first
     payment is due under the Plan (or during the period for which the Plan provides payments,
     whichever is longer).

                                                             ARTICLE III

     3.01       Method of Distribution Under the Plan

             (a) Subject to Rule 9010, and except as otherwise provided in the Plan, all distributions
     under the Plan shall be made by the Reorganized Debtor to the holder of each Allowed Claim at
     the address of such holder as listed on the Schedules and/or Proof of Claim as of the distribution
     record date unless the Debtor or Reorganized Debtor has been notified in writing of a change of
     address, including by the filing of a proof of Claim by such holder that provides an address
     different from the address reflected on the Schedules.

           (b) Any payment of Cash made by the Reorganized Debtor pursuant to the Plan shall be
     made by check drawn on a domestic bank or by wire transfer.



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       (c) Any payment or distribution required to be made under the Plan on a day other than a
Business Day shall be made on the next succeeding Business Day.

        (d) Any distributions of Cash or other property pursuant to the Plan that is unclaimed for
a period of 90 days after the distribution date shall constitute Unclaimed Funds and any
entitlement of any holder of any Claim to such distributions shall be extinguished and forever
barred.

        (e) Unless otherwise provided herein, all initial distributions and deliveries to be made on
the Effective Date shall be made on the initial distribution date. Subsequent distributions shall be
made in accordance with the terms set forth in the Plan.

3.02   No Distribution Pending Allowance

        Notwithstanding any other provision of the Plan, if any portion of a Claim is disputed, the
full amount of such Claim shall be treated as a Disputed Claim for purposes of this Plan, and no
payment or distribution provided under the Plan shall be made on account of such Claim unless
and until such Disputed Claim becomes an Allowed Claim or Allowed Equity Interest (in whole
or in part).

3.03   Disallowed Claims

        All Claims held by Persons against whom the Debtor or Reorganized Debtor has
commenced an Action under sections 542, 543, 544, 545, 547, 548, 549, and/or 550 of the Code,
shall be deemed "disallowed" Claims pursuant to section 502(d) of the Code and holders of such
Claims shall not be entitled to vote to accept or reject the Plan. Claims that are deemed
disallowed shall continue to be disallowed for all purposes until the Avoidance Action against
such party has been settled or resolved by Final Order and any sums due to the Estates from such
party have been paid.

3.04   Disbursing Agent

        The Reorganized Debtor, or such Person(s) as the Reorganized Debtor may designate
with approval of the Court, will act as disbursing agent under the Plan with respect to all
Distributions to holders of Claims and Equity Interests, and will make all distributions required
to be distributed under the applicable provisions of the Plan.

3.05   No Recourse

        Notwithstanding that the Allowed Amount of any particular Disputed Claim is
reconsidered under the applicable provisions of the Code and Rules or is Allowed in an amount
for which after application of the payment priorities established by the Plan there is insufficient
value to provide a recovery equal to that received by other holders of Allowed Claims in the
respective Class, no Claim holder shall have recourse against the Disbursing Agents, the Debtor,
the Reorganized Debtor, or any of their respective professionals, consultants, or affiliates or
respective successors or assigns, or any of the Debtor’s respective property. However, nothing in

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the Plan shall modify any right of a holder of a Claim under section 502(j) of the Code. THE
ESTIMATION OF CLAIMS AND ESTABLISHMENT OF RESERVES UNDER THE
PLAN MAY LIMIT THE DISTRIBUTION TO BE MADE ON INDIVIDUAL DISPUTED
CLAIMS, REGARDLESS OF THE AMOUNT FINALLY ALLOWED ON ACCOUNT
OF SUCH DISPUTED CLAIMS.

3.06   Amendments to Claims

       A Claim may be amended prior to the Confirmation Date only as agreed upon by the
Debtor and the holder of such Claim, or as otherwise permitted by the Court, the Rules or
applicable law. After the Confirmation Date, a Claim may not be amended without the
authorization of the Court. Any amendment to a Claim filed after the Confirmation Date shall be
deemed disallowed in full and expunged without any action by the Debtor, the Reorganized
Debtor or the Estate, unless the Claim holder has obtained prior Court authorization for the filing
of such amendment.

3.07   Post-petition Interest on Claims

       Unless expressly provided in the Plan, the Confirmation Order, or any contract,
instrument, release, settlement, or other agreement entered into in connection with the Plan or
required by applicable law, post-petition interest shall not accrue on or after the Petition Date on
account of any Claim.

3.08   Unclaimed Funds

        Upon return of any plan distribution, Debtor shall issue letter correspondence to the last
known address indicated on Debtor’s schedules or applicable proof of claim. Debtor’s
correspondence shall include a check for the applicable Plan Payment and provide all necessary
case information to enable Creditor’s determination of the applicability of Debtor’s plan
payment. Any payments made pursuant to Plan that are unclaimed for a period of six (6) months
shall be forfeited by the holder and will be re-deposited in the Disbursing Agent's account in
accordance with 11 U.S.C. §347(b).

                                          ARTICLE IV

                           Executory Contracts and Unexpired Leases

4.01   Assumption or Rejection of Executory Contracts and Unexpired Leases

         The Plan provides that all executory contracts and unexpired leases to which the Debtor
is a party will be assumed. To the extent that any executory contract is not assumed, any claims
arising thereunder will be deemed unsecured claims pursuant to Class 4, for purposes of
treatment and distribution under the Plan. The deadline for filing a proof of claim based on a
claim arising from the rejection of a lease or contract will be set by the Court at the Confirmation
Hearing. Any claim based on the rejection of a contract or lease will be barred if the proof of
claim is not timely filed, unless the Court orders otherwise.


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       NOTICE TO PARTIES OF ALL EXECUTORY CONTRACTS AND UNEXPIRED
LEASES TO WHICH THE DEBTOR IS A PARTY: The Plan provides that all executory
contracts and unexpired leases to which the Debtor is a party will be assumed. To the
extent that any executory contract is not assumed and assigned, any claims arising
thereunder will be deemed unsecured claims pursuant to Class 4, for purposes of treatment
and distribution under the Plan.

                                          ARTICLE V

                    Provisions for Execution and Implementation of the Plan

5.01   General

       Upon confirmation of the Plan, and in accordance with the confirmation order, the Debtor
or Reorganized Debtor, as the case may be, will be authorized to take all necessary steps, and
perform all necessary acts, to consummate the terms and conditions of the Plan. In addition to the
provisions set forth elsewhere in the Plan, the following shall constitute the means for
implementation of the Plan.

5.02   The Reorganized Debtor

        Except as otherwise provided in the Plan and the Confirmation Order, on the Effective
Date, Reorganized Debtor shall be vested with all of the property of the Estate free and clear of
all Claims, liens, encumbrances, charges, and other interests, including but not limited to that of
holders of Claims and holders of Equity Interests. The Reorganized Debtor shall assume all of
the Debtor’s rights, obligations and liabilities under the Plan.

5.03   Funding

       The funds to make the initial payments will come from the Debtor in Possession’s Bank
account. Funds to be used to make cash payments pursuant to the Plan shall derive from
Debtor’s income from Debtor’s employment and/or investment properties.

         To the extent that the Debtor wishes to prepay any amounts due under the Plan from
exempt assets or other third party sources, the Debtor reserves the right to do so without penalty
and to seek the entry of a final decree closing this case. The Debtor, as reorganized, will retain
and will be revested in all property of the Estate, excepting property which is to be sold or
otherwise disposed of as provided herein, executory contracts which are rejected pursuant to the
Plan and property transferred to Creditors of the Debtor pursuant to the expressed terms hereof.
The retained property shall be used by the Debtor in the ordinary course of Debtor’s personal
affairs.



5.04   Approval of Agreements


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        Entry of the Confirmation Order shall constitute approval of the Plan Documents and all
such transactions, subject to the occurrence of the Effective Date.

5.05   No Change of Control

       Any acceleration, vesting or similar change of control rights of any Person or Entity in an
arrangement with the Debtor that could otherwise be triggered by the entry of the Confirmation
Order or the consummation of the Plan or any of the transactions contemplated thereby shall be
deemed to be waived and of no force or effect.

5.06   Administration After the Effective Date

       After the Effective Date, the Reorganized Debtor may use, acquire, and dispose of the
property, free of any restrictions of the Code and Rules.

5.07   Term of Bankruptcy Injunction or Stays

        All injunctions or stays provided for in the Case under sections 105 or 362 of the Code,
or otherwise, and in existence on the Confirmation Date, shall remain in full force and effect
until the Effective Date.

5.08   Revesting of Assets

        Except as otherwise provided in the Plan, pursuant to section 1141 of the Code, the
property of the Estate of the Debtor, shall revest in the Reorganized Debtor on the Effective
Date, free and clear of all Liens, Claims and interests of holders of Claims and Equity Interests,
except as otherwise provided in the Plan or the Confirmation Order.

5.09   Discharge of Debtor

        Debtor shall receive a discharge upon completion of all payments under the Plan or upon
satisfaction of §1141(d)(5)(B), the Reorganized Debtor will be discharged, pursuant to section
1141(d)(1) of the Bankruptcy Code, from all Claims and debts that arose before the Effective
Date of this Plan and from any liability of any kind whether or not: (a) a proof of Claim is filed
or deemed to be filed under Section 501 of the Bankruptcy Code; (b) such Claim is allowed
under section 502 of the Bankruptcy Code; or (c) the holder of such Claim has accepted the Plan,
PURSUANT TO 11 U.S.C. §1141(D)(5), DEBTOR WILL NOT RECEIVE A DISCHARGE
UNTIL COMPLETION OF ALL PAYMENTS UNDER THE PLAN.

        On the Effective Date, all persons who have held, hold or may hold Claims against the
Debtor, will be enjoined from taking any of the following actions or affecting the Reorganized
Debtor, the Debtor’s Estate, the assets or properties of the Reorganized Debtor, other than
actions brought to enforce any rights or obligations under the Plan or appeals, if any, from the
Confirmation Order: (i) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding of any kind against the Reorganized Debtor; (ii)
enforcing, levying, attaching, collecting or otherwise recovering by any manner or means

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whether directly or indirectly any judgment, award, decree or order against the Reorganized
Debtor or the Debtor’s Estate or the assets or properties of the Reorganized Debtor or the
Debtor’s Estate; (iii) creating, perfecting or otherwise enforcing in any manner, directly or
indirectly, any encumbrance of any kind against the Reorganized Debtor or the Debtor’s Estate
or any direct or indirect successor-in-interest to the Reorganized Debtor, or any assets or
properties of any such transferee or successor other than as contemplated by the Plan; (iv)
asserting any set off, right of subrogation or recoupment of any kind, directly or indirectly,
against any obligation due the Reorganized Debtor or the Debtor’s Estate or the assets or
property of the Reorganized Debtor, or any direct or indirect transferee of any assets or property
of, successor-in-interest to, the Reorganized Debtor; and (v) proceeding in any manner in any
place whatsoever that does not conform or comply with the provisions of the Plan.

5.10   Injunction Related to Discharge

        Except as otherwise expressly provided in the Plan, the Confirmation Order or a separate
order of the Court, all Persons who have held, hold or may hold Claims against the Debtor, or
Equity Interests in the Debtor, are permanently enjoined, on and after the Effective Date, from (i)
commencing or continuing in any manner any action or other proceeding of any kind with
respect to any such Claim or Equity Interest, (ii) enforcing, attaching, collecting or recovering by
any manner or means of any judgment, award, decree or order against the Debtor, on account of
any such Claim or Equity Interest, (iii) creating, perfecting or enforcing any Lien or asserting
control of any kind against the Debtor or against the property or interests in property of the
Debtor on account of any such Claim or Equity Interest, and (iv) asserting any right of setoff,
subrogation or recoupment of any kind against any obligation due from the Debtor or against the
property or interests in property of the Debtor on account of any such Claim or Equity Interest.
Such injunctions shall extend to successors of the Debtor (including, without limitation, the
Reorganized Debtor) and the respective properties and interests in property.

5.11   Injunction Against Interference with the Plan

       No entity may commence or continue any action or proceeding, or perform any act
whatsoever to interfere with the implementation and consummation of this Plan and the
payments to be made hereunder, as long as said payments are made pursuant to the terms of the
Plan. The Court retains jurisdiction to impose sanctions for any such interference, including but
not limited to compensatory damages, attorney's fees and costs and, if appropriate, punitive
damage.

5.12   Votes Solicited in Good Faith

        The Debtor has, and upon confirmation of the Plan shall be deemed to have, solicited
acceptances of the Plan in good faith and in compliance with the applicable provisions of the
Bankruptcy Code, and on account of such solicitation will not, be liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of the Plan.

5.13   Payments Within 90 Days of Filing

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        All payments made within ninety (90) days prior to the Petition Date were made in the
ordinary course. Therefore, it is not in the best interests of the creditors to pursue litigation
relating to the transfers.

5.14   Notices

       Any notice described in or required by the terms of this Plan or the Code and Rules shall
be deemed to have been properly given when actually received or if mailed, five days after the
day of mailing, if such shall have been sent by certified mail, return receipt requested, and if sent
to:

The Reorganized Debtor addressed to:

       Alex Chisholm
       1514 N.W. 183rd Terrace
       Pembroke Pines, Fl 33029-3095

With copies to:

       VAN HORN LAW GROUP, P.A.
       Attention: Chad T. Van Horn, Esq.
       330 N. Andrews Ave., Suite 450
       Fort Lauderdale, FL 33301

and

       Office of the U.S. Trustee
       51 SW First Avenue, Room 1204
       Miami, FL 33130

5.15     Reservation of Rights

       The Debtor reserve the right, after confirmation, to seek the closing of this bankruptcy
proceeding prior to the entry of an Order of Discharge, upon the payment of the initial payments
under this Plan, payment of all outstanding quarterly United States Trustee Fees, and the filing of
any outstanding federal income tax returns. Such a request may be granted only upon notice and
hearing, with the notice to all creditors and interested parties. If such request is granted, then
upon the satisfaction of all payments required to be paid pursuant to the Plan to Classes 1
through 7 or five (5) years from the Effective Date, whichever is longer, the Debtor shall receive
a discharge. THIS PARAGRAPH ONLY PRESERVES THE DEBTOR’S RIGHT TO
SEEK THE RELIEF DESCRIBED ABOVE AND DOES NOT CONCLUSIVELY GRANT
SUCH RELIEF. CREDITORS’ AND INTERESTED PARTIES’ RIGHTS TO OBJECT
TO SUCH RELIEF SHALL SIMILARLY BE PRESERVED UNTIL SUCH TIME AS IT
IS REQUESTED BY THE DEBTOR AFTER CONFIRMATION.



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                                          ARTICLE VI

                            Confirmation and Effectiveness of the Plan

6.01 Conditions Precedent to Confirmation

        The Plan shall not be confirmed by the Court unless and until the following conditions
shall have been satisfied or waived pursuant to Section 6.01 of the Plan:

        (i) The Confirmation Order shall be in form and substance reasonably acceptable to the
Debtor and include, among other things, a finding of fact that the Debtor and the Reorganized
Debtor, acted in good faith within the meaning of and with respect to all of the actions described
in section 1125(e) of the Code and are, therefore, not liable for the violation of any applicable
law, rule or regulation governing such actions; and

        (ii) All exhibits to the Plan, including those to be contained in the Plan Supplement, shall
be in form and substance reasonably acceptable to the Debtor and approved by the Court.

       (iii) The Confirmation Order shall have been entered and shall be a Final Order (with no
modification or amendment thereof), and there shall be no stay or injunction that would prevent
the occurrence of the Effective Date;

       (iv) The statutory fees owing to the United States Trustee shall have been paid in full;
and

        (v) All other actions, authorizations, filings consents and regulatory approvals required
(if any) shall have been obtained, effected or executed in a manner acceptable to the Debtor and
remain in full force and effect or, if waivable, waived by the Person or Persons entitled to the
benefit thereof.

6.02   Effect of Failure

         If each condition to the Effective Date specified in the Plan has not been satisfied or duly
waived within ninety (90) days after the Confirmation Date, then upon the filing of a motion by
the Debtor made before the time that all conditions have been satisfied or duly waived, the
Confirmation Order will be vacated by the Court; provided, however, that notwithstanding the
filing of such a motion, the Confirmation Order shall not be vacated if each of the conditions to
the Effective Date is either satisfied or duly waived before the Court enters an order granting the
relief requested in such motion. If the Confirmation Order is vacated, the Plan shall be deemed
null and void in all respects, including without limitation the discharge of Claims pursuant to
section 1141 of the Code and the assumptions or rejections of executory contracts and unexpired
leases as provided by the Plan, and nothing contained herein shall (l) constitute a waiver or
release of any Action by, or Claims against, the Debtor or (2) prejudice in any manner the rights
of the Debtor.

6.03   Plan Approval By Court Without Votes


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       If no Creditor class votes in favor of confirmation of the proposed Plan, the Court
may still approve the Plan by applying the same criteria as if a Motion To Cramdown the
Plan had been filed under code section 1129(b).

6.04   Waiver of Conditions

        The Debtor may waive one or more of the conditions precedent to confirmation of the
Plan, or the condition precedent to effectiveness of the Plan set forth in Section 6.01 of the Plan.
The Debtor may waive in writing one or more of the other conditions precedent to confirmation
and effectiveness of the Plan, without further notice to parties in interest or the Court without a
prior hearing.

                                          ARTICLE VII

                                     Retention of Jurisdiction

       The Court shall have exclusive jurisdiction of all matters arising out of, and related to, the
Case and the Plan pursuant to, and for the purposes of, sections 105(a) and 1142 of the Code and
for, among other things, the following purposes:

        A.      To hear and determine pending applications for the assumption or rejection of
executory contracts or unexpired leases, if any are pending, and the allowance of Claims
resulting, therefrom;

       B.     To determine any and all adversary proceedings, motions, applications and
contested matters, and other litigated matters pending on the Confirmation Date;

      C.     To hear and determine any objections to or the allowance, classification, priority,
compromise, estimation or payments of any Administrative Claims or Claims;

       D.      To ensure that Distribution to holders of Allowed Claims are accomplished as
provided in the Plan;



       E.     To enter and implement such order as may be appropriate in the event the
Confirmation Order is for any reason stayed, revoked, modified or vacated;

        F.     To issue such orders in aid of execution and consummation of the Plan, to the
extent authorized by section 1142 of the Code;

        G.     To consider any amendments to or modifications of the Plan, to cure any defect or
omission, or to reconcile any inconsistency in the Plan, the Plan supplement, or any order of the
Court, including, without limitation, the Confirmation Order;

      H.      To hear and determine all applications for compensation and reimbursement of
expenses of Professionals under sections 330, 331, and 503(b) of the Code;
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      I.     To hear and determine disputes arising in connection with the interpretation,
implementation or enforcement of the Plan;

       J.      To recover all Assets of the Debtor and Property of the Estate, wherever located;

        K.      To determine any Claim of or any liability to a governmental unit that may be
asserted as a result of the transactions contemplated herein;

        L.     To enforce the Plan, the Confirmation Order and any other order, judgment,
injunction or ruling entered or made in the Case, including, without limitation, the discharge,
injunction, exculpation and releases provided for in the Plan;

      M.      To take any action and issue such order as may be necessary to construe, enforce,
implement, execute, and consummate the Plan or to maintain the integrity of the Plan following
consummation;

        N.     To hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505, and 1146 of the Code (including, but not limited to, an
expedited determination under section 505(b) of the Code of the tax liability of the Debtor for all
taxable periods through the Effective Date for all taxable periods of the Debtor through the
liquidation and dissolution of such entity);

       O.      To hear any other matter not inconsistent with the Code;

        P.     To adjudicate all Claims to any lien on any property of the Debtor or proceeds
thereof;

       Q.      To determine the amount of any secured claim;

        R.     To deem satisfied and extinguished the mortgage lien of the Creditor in Class 1
of the Plan by entry of an order of the Bankruptcy Court in recordable form to be filed in the
public records of Broward County Florida and

       S.      To enter a final decree closing the Case; provided however, that nothing in the
Plan shall divest or deprive any other court or agency of any jurisdiction it may have over the
Reorganized Debtor under applicable environmental laws.

       T.       To retain jurisdiction over any foreclosure proceedings involving the Homestead
Property to the extent of any federal questions, and the deadline for filing a removal action is
extended for 10 day more than the period of time allotted for the claim in Class 1 to complete its
foreclosure as to the Homestead Property.

                                        ARTICLE VIII

                                    Miscellaneous Provisions


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8.01   Tax Implications of the Plan.

        The tax consequences of the implementation of the Plan to a specific creditor will depend
on a number of factors, including whether the Creditor’s Claim constitutes a “security” for
federal income tax purposes, whether a Creditor has already taken a deduction of loss with
respect to its Claim and the timing of any distributions under the Plan. It is possible that certain
creditors will recognize gain or income as a result of distributions under the Plan. There also may
be state, local or foreign tax considerations applicable to particular holders of Claims, none of
which are discussed herein. Each holder of a Claim or any other party in interest in this case is
strongly urged to consult with their tax advisor regarding the federal, state and local income and
other tax consequences that the implementation of this Plan may have on them.

8.02   Effectuating Documents and Further Transactions.

         The Debtor or Reorganized Debtor, as the case may be, is authorized to execute, deliver,
file or record such contracts, instruments, releases and other agreements or documents and take
such actions as may be necessary or appropriate to implement, effectuate and further evidence
the terms and conditions of the Plan and any notes or securities issued pursuant to the Plan.

8.03   Post-Effective Date Fees and Expenses

        From and after the Effective Date, the Reorganized Debtor shall, in the ordinary course of
business and without the necessity for any approval by the Court, pay the reasonable fees and
expenses of Professionals thereafter incurred by the Reorganized Debtor, including, without
limitation, those fees and expenses incurred in connection with the implementation and
consummation of the Plan.




8.04   Amendment or Modification of Plan

        Alterations, amendments or modifications of the Plan may be proposed in writing by the
Debtor at any time prior to the Confirmation Date in conformity with section 1127(a) of the
Code, provided that the Plan, as altered, amended or modified, satisfies the conditions of sections
1122, 1123 and 1129 of the Code, and the Debtor shall have complied with section 1125 of the
Code. The Plan may be altered, amended or modified by the Debtor at any time after the
Confirmation Date in conformity with section 1127(b) of the Code, provided that the Plan, as
altered, amended or modified, satisfies the requirements of sections 1122 and 1123 of the Code
and the Court, after notice and a hearing, confirms the Plan, as altered, amended or modified,
under section 1129 of the Code and the circumstances warrant such alterations, amendments or
modifications. A holder of a Claim that has accepted the Plan shall be deemed to have accepted
the Plan, as altered, amended or modified, if the proposed alteration, amendment or modification
does not materially and adversely change the treatment of the Claim of such holder. Prior to the

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Effective Date, the Debtor, and without the approval of the Bankruptcy Court, and without notice
to all holders of Claims and Interests, insofar as it does not materially adversely affect the
interests of holders of Claims and Interests, may correct any defect, omission or inconsistency in
this Plan in such manner and to such extent as may be necessary to expedite the execution of this
Plan.

8.05   Severability

        In the event that the Court determines, prior to the Confirmation Date, that any provision
in the Plan is invalid, void or unenforceable, such provision shall be invalid, void or
unenforceable with respect to the holder or holders of such Claims or Equity Interests as to
which the provision is determined to be invalid, void or unenforceable. The invalidity, voidness
or unenforceability of any such provision shall in no way limit or affect the enforceability and
operative effect of any other provision of the Plan. The Court, at the request of the Debtor, shall
have the power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered
or interpreted. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of the Plan, as it may have been altered or interpreted in accordance
with the foregoing, is valid and enforceable pursuant to its terms.

8.06   Filing of Additional Documents

        On or before Substantial Consummation of the Plan, the Debtor shall file with the Court
such agreements and other documents as may be necessary or appropriate to effectuate and
further evidence the terms and conditions of the Plan.

8.07   No Admissions

        Notwithstanding anything in the Plan to the contrary, nothing contained in the Plan shall
be deemed as an admission by any Person with respect to any matter set forth in the Plan or
herein.

8.08   Inconsistency

        In the event of any inconsistency between the Plan and the Disclosure Statement, any
Exhibit to the Plan or the Disclosure Statement or any other instrument or document created or
executed pursuant to the Plan, the Plan shall govern. In the event of any inconsistency between
the Plan and the Confirmation Order, the Confirmation Order shall govern.




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8.09   No Interest or Attorneys' Fees

       Except as otherwise provided under the Plan, or as ordered by the Court, no interest,
penalty or other charge, including any late charge, arising from and after the Petition Date, and
no award or reimbursement of any attorneys' fees or other related cost or disbursement, shall be
allowed on, or in connection with, any Claim, unless otherwise provided under the Plan or
awarded by the Court.

8.10   Successors and Assigns

        This Plan and all the provisions hereof shall be binding upon and inure to the benefit of
the parties hereto and their respective successors and assigns.

8.11   Savings Clause

       Any minor defect or inconsistency in the Plan may be corrected or amended by the
Confirmation Order.

8.12   Remedy of Defects

   After the Effective Date, the Reorganized Debtor may, with approval of the Court, and so
long as it does not materially and adversely affect the interests of Creditors, remedy any defect or
omission or reconcile any inconsistencies in the Plan or in the Confirmation Order in such
manner as may be necessary to carry out the purposes and effect of the Plan and in form and
substance satisfactory to the Reorganized Debtor.

8.13   Future Cooperation

       If any claimant, or its successor in interest fails and refuses to execute any document
necessary to implement the terms of the Plan (including, but not limited to a release of lien or
release of mortgage), such claimant shall be liable for attorney’s fees and costs incurred in
obtaining such documents or a substitute therefore.


                                          ARTICLE IX

                                            Conclusion

        The aforementioned provisions shall constitute the Plan of Reorganization of the Debtor.
This Plan, when confirmed will be deemed binding on the Debtor, the Reorganized Debtor, and
all creditors and parties in interest.




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